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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-02622-RBJ

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  LIBERTY GLOBAL, INC.,

         Defendant.




                                     JOINT STATUS REPORT



         Plaintiff, United States, and Defendant, Liberty Global, Inc. (LGI), hereby submit this

  joint status report. This case is currently scheduled for a status conference with Magistrate Judge

  Varholak on February 7, 2024.

         1.      This is one of two lawsuits concerning a series of transactions known as Project

  Soy. In the first case, Liberty Global, Inc. v. United States, Civil Action No. 20-cv-3501-RBJ,

  LGI sought a refund of taxes it contended it had overpaid for tax year 2018, in connection with

  transactions known as Project Soy. In the second case, i.e., the instant suit, the United States

  seeks additional taxes it contends LGI would owe if the United States prevails in the first suit.

         2.      Two of the major disputes between the parties in this case were decided by the

  Court through two decisions on summary judgment in the first suit, Civil Action No. 20-cv-

  3501-RBJ. The decision in Dkt. 46 in that case held that certain temporary regulations did not

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  have retroactive effect to LGI’s 2018 tax year. The decision at Dkt. 87 in that case held that the

  Project Soy transactions were subject to the codified economic substance doctrine, 26 U.S.C. §

  7701. As the parties have long indicated, the computations to resolve LGI’s tax liability in light

  of the Court’s prior decisions, i.e., the subject of this suit, are complex. As the United States’

  complaint in this matter acknowledged, LGI might contend that other tax items would affect the

  ultimate amount of tax due. (See Am. Compl. ¶ 36, Dkt. 4.)

         3.      As described in a prior status report (Dkt. 39), the parties have been working

  towards submitting a proposed form of judgment that would be consistent with Judge Jackson’s

  opinions in the related matter. As the parties explained in that report, they are working on two

  related sets of calculations. First, the parties are working toward a joint computation of the tax

  that would be due if, as the Court determined, the temporary regulations do not apply but the

  economic substance doctrine does apply, such that the earnings and profits generated under

  Project Soy should be disregarded. Second, the United States is proposing an alternative

  calculation that would reflect the amount that the United States contends would be due if the

  Court, in addition to finding for the United States on the application of the economic substance

  doctrine, had also upheld the validity of the temporary Treasury Regulations. The United States

  respects that the Court has decided that question in Case No. 20-cv-3501, but notes that it is

  relevant to the question whether the ultimate judgment to be entered by the Court in this case is

  partially adverse to the United States, such that a notice of appeal may be necessary.

         4.      The parties have not yet been able to reach an agreed upon figure for either

  alternative. However, IRS employees and LGI’s tax professionals have had several

  communications, including phone calls, have exchanged draft calculations, and are continuing to


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  attempt to resolve open questions. It is possible that some issues will remain disputed, and will

  ultimately require resolution by the Court. However, the parties believe that an additional 30

  days may help at least narrow the issues in dispute.

         5.      Although they are working toward the submission of an agreed form of judgment,

  neither the United States nor LGI waives their rights to appeal the respective adverse portions of

  the judgment to be entered by the Court.



         Respectfully submitted this 6th day of February 2024.


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 6, 2024, I served a copy of the foregoing document by

  filing it through the Court’s CM/ECF system, which will send an electronic copy to all counsel

  of record.



                                                     Respectfully submitted,

                                                     /s/ Nathan Wacker
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